          Case 2:21-cr-00065-JLS Document 104 Filed 07/06/22 Page 1 of 7




                        IN THE UNITED STATES DISTRICT COURT

                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                               :

          v.                                           :       CRIMINAL NO. 21-65

JOHN DOUGHERTY                                         :
GREGORY FIOCCA

                                     PROTECTIVE ORDER

        AND NOW, this            day of                2022, upon consideration of the

Government=s Unopposed Motion for a Protective Order with respect to an internal FBI

document pertaining to communications with a Confidential Informant, it is hereby ORDERED

that the motion is GRANTED.

        It is FURTHER ORDERED, pursuant to Rule 16(d)(1) of the Federal Rules of Criminal

Procedure, that defense counsel may make such use of the document that is the subject of the

Government’s Motion as is necessary to prepare for any pretrial hearings or trial, and for use at

any pretrial hearings and trial, pursuant to the terms of this order, including the disclosure of the

material to the defendants pursuant to the terms of this order. Any counsel, defendant, or other

person to whom disclosure is made pursuant to this Order may not use the material for any other

purpose, and may not disclose the document or information contained in the document to any

third party, except as required to prepare for any pretrial hearings or trial and for use at any

pretrial hearings and trial.

        It is FURTHER ORDERED that other than the defendants, the material may not be

disclosed to anyone outside of the law firms of defense counsel. The defendants may inspect and
         Case 2:21-cr-00065-JLS Document 104 Filed 07/06/22 Page 2 of 7




review the material in the offices and in the presence of their attorneys, but may not possess

copies of the material, nor shall they photograph, copy, capture by video, or reproduce the

material in any way.

       Defense counsel shall maintain a log of every person to whom disclosure of the material

is made and shall provide a copy of this order to every such person.

       It is FURTHER ORDERED that the document that is the subject of the Motion shall not

be made public.




                                              BY THE COURT:



                                               HONORABLE JEFFREY L. SCHMEHL
                                               United States District Court Judge




                                                 2
           Case 2:21-cr-00065-JLS Document 104 Filed 07/06/22 Page 3 of 7




                        IN THE UNITED STATES DISTRICT COURT

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UNITED STATES OF AMERICA                             :

           v.                                        :               CRIMINAL NO. 21-65

JOHN DOUGHERTY                                       :
GREGORY FIOCCA


          UNOPPOSED MOTION OF THE UNITED STATES OF AMERICA
                FOR A PROTECTIVE ORDER PURSUANT TO
             FEDERAL RULE OF CRIMINAL PROCEDURE 16(d)(1)

       The United States of America, through its attorneys, Jacqueline C. Romero,

United States Attorney, and the undersigned attorneys, respectfully requests that the

Court enter a protective order, pursuant to Federal Rule of Criminal Procedure 16(d)(1),

limiting the access and use of specific material – that is, an internal FBI document

providing guidance and direction to special agents about specific admonishments to

Confidential Informants (hereinafter, “FBI Advice Document”) - that the government is

prepared to produce to defense counsel, and in support of its motion, avers as follows:

                1.     On April 8, 2022, defendant John Dougherty filed a motion for an

order requiring the government to disclose all reports, memoranda, and other documents

pertaining to a Confidential Informant (CI) who had made a recording that the

government intends to use at trial in this case. Defendant Gregory Fiocca joined in the

motion.




                                                 3
          Case 2:21-cr-00065-JLS Document 104 Filed 07/06/22 Page 4 of 7




                2.         On May 2, 2022, the Court ruled on various pretrial motions,

except for the defendants’ motion for disclosure described above, stating that:

                 The Court and the parties have agreed that the best way to handle this
           confidential informant issue at this time is for the Court to review any and
           all information that the informant provided to the Government. The Court
           will determine whether any of that information is relevant, exculpatory, or
           infringes upon Dougherty’s Sixth Amendment Right to Counsel given that
           the information was being provided during a separate criminal case against
           Dougherty and others that this Court is very familiar with. See United States
           v. Dougherty, et al., Eastern District of Pennsylvania, ECF 19-64. Docket
           No. 73, p. 4, n. 2.

                3.         On June 17, 2022, defendant John Dougherty filed a Motion to

Compel Disclosure of Information Related to The Government’s Use of a Confidential

Informant. A hearing on the motion and other pending issues related to the informant was

held on June 30, 2022. At the conclusion of the hearing, counsel for defendant John

Dougherty requested the government to produce a document referred to in testimony

pertaining to certain admonishments given to the Confidential Informant.

                After consultation with the FBI, the government is willing to produce the

requested document, as long the document is not made public and use of the document is

strictly limited to use by the defense in this case under the terms of a protective order.

                4.         The FBI Advice Document contains non-public sensitive law

enforcement information that is used internally by the FBI to provide guidance and

direction to its agents.

                5.         To protect the FBI’s sensitive internal guidance from unnecessary public

disclosure and misuse, the government respectfully requests that the Court enter a protective

order limiting the access to and use of the FBI Advice Document to the preparation for and use

                                                    4
          Case 2:21-cr-00065-JLS Document 104 Filed 07/06/22 Page 5 of 7




prior to and at trial in this case, and specifically prohibiting any public disclosure of the

document.

               6.      The proposed order prohibits defense counsel from providing copies of the

document to the defendants, or allowing the defendants to photograph, copy, capture by video, or

reproduce the material in any way, or review the material alone. The proposed order also

prohibits counsel from disclosing the document to anyone other than the defendants and

employees of their law firms and requires that defense counsel maintain a log of and provide a

copy of the protective order to every person to whom disclosure of the material is made.

               7.      Rule 16(d)(1) of the Federal Rules of Criminal Procedure provides that the

Court may Afor good cause, deny, restrict or defer discovery or inspection, or grant other

appropriate relief.@ Fed. R. Crim. P. 16(d)(1). The Supreme Court has noted that courts may use

protective orders to restrict the use of materials produced in discovery:

               [T]he trial court can and should, where appropriate, place a
               defendant and his counsel under enforceable orders against
               unwarranted disclosure of the materials which they may be entitled
               to inspect.

Alderman v. United States, 394 U.S. 165, 185 (1969). Cf. United States v. McDade, 1994 WL

161243, *3-*5 (E.D. Pa. April 15, 1994) (limiting use of criminal deposition Asolely for the

preparation and conduct of the proceeding@ and prohibiting any further disclosure). In United

States v. Smith, 776 F.2d 1104, 1114 (3d Cir. 1985), which involved a motion for press access to

a bill of particulars naming unindicted coconspirators, even though the Court of Appeals

acknowledged that Athe public has a substantial interest in the integrity or lack of integrity of

those who serve them in public office,@ it denied the motion, holding that Athe risk of serious


                                                   5
          Case 2:21-cr-00065-JLS Document 104 Filed 07/06/22 Page 6 of 7




injury to third parties from disclosure outweighs the interest of the public in access to this limited

segment of the bill of particulars

               8.      Counsel for the defendants do not object to the entry of the proposed

order.

               WHEREFORE, for the reasons stated above, the government respectfully requests

that the Court enter a protective order, pursuant to Rule 16(d)(1), in the form of the proposed

order attached to this motion.

                                           Respectfully submitted,

                                           JACQUELINE C. ROMERO
                                           United States Attorney

                                           /s/ Frank R. Costello, Jr.
                                           FRANK R. COSTELLO, JR.
                                           JASON D. GRENELL
                                           Assistant United States Attorneys




                                                  6
         Case 2:21-cr-00065-JLS Document 104 Filed 07/06/22 Page 7 of 7




                                 CERTIFICATE OF SERVICE


               This is to certify that I have caused to be delivered by electronic filing to the

Clerk of Court (resulting in an e-mail copy sent to counsel by the Clerk of Court), a true and

correct copy of the within motion, to the following counsel:

Henry Hockeimer
Counsel for Defendant John Dougherty

Rocco Cipparone
Counsel for Defendant Gregory Fiocca

                                              /s/ Frank R. Costello, Jr.
                                              FRANK R. COSTELLO, JR.
                                              Assistant United States Attorney


Date: July 6, 2022




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